









Affirmed and Memorandum Opinion filed September 1, 2005









Affirmed and Memorandum Opinion filed September 1,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00038-CR

____________

&nbsp;

CHARLES EDWARD BLOOMER,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 232nd District
Court

Harris County, Texas

Trial Court Cause No.
957,460

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a plea of guilty to the offense of
aggravated robbery.&nbsp; On May 26, 2004, the
trial court entered an order, deferring adjudication of guilt and placing
appellant on community supervision for four years.&nbsp; The state subsequently filed a motion to
adjudicate.&nbsp; On January 7, 2005, the
trial court adjudicated appellant guilty and sentenced appellant to confinement
for 12 years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a timely notice
of appeal.








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; As of this
date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 1, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore. 

Do Not Publish C Tex. R. App. P. 47.2(b).





